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 6
     ATTORNEYS FOR DEFENDANT
 7   Jorge Eguiluz
 8
 9                       IN THE UNITED STATES DISTRICT COURT
10                     FOR THE EASTERN DISTRICT OF CALIFORNIA

11
      UNITED STATES OF AMERICA                    CASE NO. 2:17-cr-00053-JAM
12
                                Plaintiff,
13                                                STIPULATION AND ORDER
14    vs.                                         TO CONTINUE DATE TO FILE
                                                  STIPULATION RE: PAYMENT OF FUNDS
15     JORGE EGUILUZ,
16                              Defendant.
17
18
              IT IS HEREBY stipulated by and between the United States of America
19
20   through its undersigned counsel, Kevin C. Khasigian, Esq., Assistant United States

21   Attorney, and Donald H. Heller, Esq., counsel for defendant Jorge Eguiluz, that
22
     pursuant to the Order in(ECF Doc.286), that the date for filing, a Stipulation and
23
     Proposed Order, directing payment of the $239,914 the Defendant previously
24
25   deposited with the Clerk of Court towards the restitution ordered in this case is

26   continued from July 27, 2020, to September 10, 2020. The justification for said
27   continuance is that the government’s counsel and the defendant’s counsel need to
28

                                        1
            STIPULATION AND PROPOSED ORDER CONTINUING FILING DATE
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 1   workout certain technical details for the stipulation and need additional time because
 2   of vacation and scheduling conflicts. No Court appearance is required.
 3
 4
     IT IS SO STIPULATED.
 5
 6   Dated:        July 24, 2020                          DONALD H. HELLER,
                                                          A Law Corporation
 7
                                                          /s/ Donald H. Heller
 8
                                                          DONALD H. HELLER
 9                                                        Attorney for Defendant
                                                          Jorge Eguiluz
10
11   Dated:        July 24, 2020                          MCGREGOR W. SCOTT
                                                          United States Attorney
12
                                                          /s/ Kevin C. Khasigian by Donald H.
13                                                        Heller with Authorization
14
                                                          KEVIN C. KHASIGIAN
15                                                        Assistant U.S. Attorney
                                                          Attorney for the United States
16
17                                              ORDER

18            Good cause appearing, based on the stipulation of counsel for the parties

19   stated above it is hereby Ordered:
              1.       That the time for the United States and Defendant, to file a stipulation
20
21   and proposed order directing payment of the $239,914 the Defendant previously

22   deposited with the Clerk of Court towards the restitution ordered in this case, is
23
     hereby continued to September 10, 2020. No Court appearance is required.
24
25            IT IS SO ORDERED.
26
27   Dated: July 24, 2020                                 /s/ John A. Mendez_______
                                                          Hon. John A. Mendez
28                                                        United States District Court Judge

                                       2
           STIPULATION AND PROPOSED ORDER CONTINUING FILING DATE
                              2:17-cr-00053-JAM
